AO 245B (Rev. 09/19) Judgment in a Criminal Case



                                   UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                          v.                                       Case Number: 19-CR-2
                                                                   USM Number: 16875-089
ALEXANDER P. BEBRIS
                                                                   Jason D. Luczak             Daniel R. Humble
                                                                   Defendant’s Attorney        Assistant United States Attorney



        THE DEFENDANT pled guilty to count one of the indictment. The Defendant is adjudicated guilty of
these offense(s):

              Title & Section                                   Nature of Offense                Date Concluded Count(s)
 18 U.S.C. § 2252A(a)(2)(A)                          Distribution of Child Pornography            September, 2018            1


       The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

          All remaining counts are dismissed upon motion of the United States.

       IT IS ORDERED, that the defendant must notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the Court and
the United States Attorney of material changes in economic circumstances.


                                                                       Date Sentence Imposed: November 13, 2020

                                                                       s/ William C. Griesbach
                                                                       United States District Judge

                                                                       Date Judgment Entered: November 17, 2020
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DEFENDANT: ALEXANDER P. BEBRIS
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                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of sixty (60) months.

☐         The court makes the following recommendations to the Bureau of Prisons:
          _______________________________________________________________________

☐         The defendant is remanded to the custody of the United States Marshal.

☒         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
          as notified by the Probation or Pretrial Services Office.

☒         The sentence is STAYED. The Court will allow the defendant's continued release with conditions as
          previously set pending appeal proceedings under 18 U.S.C. § 3143.


                                                      RETURN
          I have executed this judgment as follows:

        Defendant delivered on _____________________ to _________________________________________
with a certified copy of this judgment.


                                                              United States Marshal


                                                              By: Deputy United States Marshal
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DEFENDANT: ALEXANDER P. BEBRIS
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                                                    SUPERVISED RELEASE
          Upon release from imprisonment, you will be on supervised release for a term of six (6) years.



                                                   MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess or use a controlled substance.
   ☐ You must submit to one drug test within 15 days of release from imprisonment and at least two periodic
      drug tests thereafter, as determined by the court. (check if applicable)
   ☒ The above drug testing condition is suspended based on the court's determination that the defendant
      poses a low risk of future substance abuse. (check if applicable)
3. ☐ You must make restitution in accordance with 18 U.S.C. §§ 3363 and 3363A or any other statute
      authorizing a sentence of restitution. (check if applicable)
4. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
      § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender
      registration agency in the location where you reside, work, are a student, or were convicted of a qualifying
      offense. (check if applicable)
6. ☐ You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached pages.
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                                   STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and
identify the minimum tools needed by probation officers to keep informed, report to the court about, and bring
about improvements in your conduct and condition.

1. You shall report to the probation office in the district to which you are released within 72 hours of your release
   from the custody of the Bureau of Prisons and shall report to the probation officer in a manner and frequency
   as reasonably directed by the Court or probation officer.
2. You shall not leave the State of Wisconsin without permission of the court or probation officer.
3. You shall answer truthfully all inquiries by the probation officer, subject to your Fifth Amendment right
   against self-incrimination, and follow the reasonable instructions of the probation officer.
4. You shall use your best efforts to find and hold lawful employment, unless excused by the probation officer
   for schooling, training, or other acceptable reasons.
5. You shall notify the probation officer at least ten days prior to any change in your place of residence or
   employment. When such notification is not possible, you shall notify the probation officer within 72 hours
   of the change.
6. You shall not associate with any persons known by you to be engaged or planning to be engaged in criminal
   activity. “Associate,” as used here, means reside with or regularly socialize with such person.
7. You shall permit a probation officer to visit you at reasonable times at home and shall permit confiscation of
   any contraband observed in plain view of the probation officer.
8. You shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement
   officer.
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                                     SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall participate in an approved program of sex offender mental health assessment and
   treatment, until such time as he is released from the program by his probation officer. This assessment and
   treatment may include the polygraph to assist in planning and case monitoring. Any refusal to submit to such
   assessment or test as scheduled is a violation of the conditions of supervision. The defendant shall waive
   confidentiality between his supervising probation officer and the sex offender treatment provider and pay the
   cost of this program under the guidance of his probation officer.
2. The defendant shall cooperate with and participate in a computer and internet monitoring and restriction
   program and pay the cost of such program as directed. The defendant shall not possess or use any device with
   access to the internet without the permission of his supervising probation officer and absent the monitoring
   program, and he shall not possess or use any data encryption or data erasure technique or program. The
   defendant shall provide his probation officer a complete inventory of all electronic and Internet capable
   devices, all of his computer pseudonyms, passwords, and logons. The defendant shall consent to his probation
   officer conducting periodic unannounced examinations of his computer(s) equipment, which may include
   hardware, removable storage/media devices, and copying of all data from the computer(s). This also includes
   removal of such equipment by his probation officer, when necessary, for the purpose of conducting a more
   thorough examination.
3. The defendant shall submit his person, property, house, residence, vehicle, office, papers, computers, other
   electronic communications or data storage devices, or media, to a search conducted by the United States
   Probation Officer. Failure to submit to a search may be grounds for revocation of release. The defendant shall
   warn any other occupants that the premises may be subject to searches pursuant to this condition. An officer
   may conduct a search pursuant to this condition only when reasonable suspicion exists that the defendant has
   violated a condition of their release and that the areas to be searched may contain evidence of this violation.
   Any search must be conducted at a reasonable time and in a reasonable manner.
4. The defendant shall not have intentional one on one contact with unrelated children under the age of 18 unless
   approved in advance, in writing, by his probation officer, and then only in the physical presence of a
   responsible adult who has been advised of the defendant’s criminal history of inappropriate contact with
   minors, and shall report within 8 hours to the probation office any unauthorized contact with children.
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                                          CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached page.

       Total Special                                                                Total Fine          Total Restitution
        Assessment                 AVAA Assessment*    JVTA Assessment**
         $100.00                        $0.00                $0.00                     $0.00                   $0.00

☐         The determination of restitution is deferred until _____. An Amended Judgment in a Criminal Case (AO 245C)
          will be entered after such determination.

☐         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.

If a defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However,
pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.

                                   PAYEE                                                   AMOUNT




                                                      TOTAL:

☐         Restitution amount ordered pursuant to plea agreement: $_____.
☐         The defendant must pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid
          in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
          options on the Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
          § 3612(g).
☐         The court determined that the defendant does not have the ability to pay interest, and it is ordered that the interest
          requirement is waived for the ☐ fine ☐ restitution.

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
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                                                   SCHEDULE OF PAYMENTS
          Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A         ☒         Lump sum payment of $100.00 due immediately

 B         ☐         Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

 C         ☐         Payment in equal monthly installments of not less than $_____ or 10% of the defendant’s net earnings,
                     whichever is greater, until paid in full, to commence 30 days after the date of this judgment; or

 D         ☐         Payment in equal monthly installments of not less than $_____ or 10% of the defendant’s net earnings,
                     whichever is greater, until paid in full, to commence 30 days after release from imprisonment to a term
                     of supervision; or

 E         ☐         Payment during the term of supervised release will commence within 30 days after release from
                     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to
                     pay at that time; or

 F         ☐         Special instructions regarding the payment of criminal monetary penalties: _____________

        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

☐         Joint and Several

          Case Number
          Defendant and Co-Defendant Names                              Joint and Several         Corresponding Payee,
          (including defendant number)                 Total Amount         Amount                    if appropriate



☐         The defendant shall pay the cost of prosecution; or ☐ The defendant shall pay the following court costs:

☐         The defendant shall forfeit the defendant's interest in the following property to the United States:

        Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties,
and (10) costs, including cost of prosecution and court costs.
